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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

      Plaintiff,

                 v.                        CRIMINAL NO. 09-228 (FAB)

CARLOS APONTE-SOBRADO [2],
JOSE VIZCARRONDO-CASANOVA [6],
ERIK DIAZ-COLON [11],

      Defendants.


                         MEMORANDUM AND ORDER

BESOSA, District Judge.

     On August 15, 2011, former Assistant U.S. Attorney Antonio R.

Bazan (“Bazan”) was commanded to appear before the Court and bring

“[a]ny   and   all    related    memoranda,    documents        or   reports   of

investigation generated by you or where you sign off in any

capacity that are in your possession in relation to the autopsy of

Ellis Manuel Andrades-Telleria.” (Docket No. 663.) The government

filed a motion to quash the subpoena on August 25, 2011.                 (Docket

No. 675.)      Defendant Jose Vizcarrondo-Casanova (“Vizcarrondo”)

filed a motion in opposition to the government’s motion to quash on

September 1, 2011.     (Docket No. 693.)       For the reasons set forth,

the government’s motion to quash the subpoena is DENIED.
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                                   DISCUSSION

      The government has moved to quash the subpoena on the basis

that it is overly broad and “lacks the specificity required by the

Touhy regulations.”       (Docket No. 675 at 4.)         The Court addresses

the government’s argument regarding the Touhy regulations first,

and then proceeds to the argument regarding whether defendant’s

subpoena request passes the legal standard articulated in United

States v. Nixon, 418 U.S. 683 (1974).

A.    The Touhy Regulations

      The government insists that the Touhy regulations, codified in

Title 28 of the Code of Federal Regulations, §§ 16.21 et seq.,

provide grounds for the Court to quash defendant’s subpoena. While

the   regulations    do   govern    the   “production     or     disclosure”    of

“material contained in the files of the Department [of Justice]”,

the regulations are directed primarily at providing “guidance for

the internal operations of the Department of Justice”, so that

disclosure requests are centrally consolidated and streamlined

within the Department.         28 C.F.R. § 16.21 et seq., see also United

States ex rel. Touhy v. Ragen, 340 U.S. 462, 467 (1951) (finding

that “a refusal by a subordinate of the Department of Justice to

submit papers to the court in response to its subpoena duces tecum

on the ground that the subordinate is prohibited from making such
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submission by his superior” was valid and proper.)                       In fact,

nothing in the language of these regulations makes reference to the

Department’s ability to withhold evidence against a court order

when a subpoena has been appropriately issued by a party defendant.

     The government alleges that defendant’s subpoena request fails

to meet the “specificity required by the Touhy regulations” (Docket

No. 675 at 4), and cites the following language:

     “If oral testimony is sought by a demand in a case or

     matter   in   which     the   United    States   is    a   party,     an

     affidavit, or, if that is not feasible, a statement by

     the   party   seeking    the   testimony    or   by     the    party’s

     attorney setting forth a summary of the testimony sought

     must be furnished to the Department attorney handling the

     case or matter.”

28 C.F.R. § 16.23(c).      This section of the statute simply requires

the party seeking testimony to provide a “summary of the testimony

sought” “to the Department attorney” and makes no reference to any

required level of specificity.         Id.    The defendant’s attorney in

this case has complied with this regulation.               (Docket No. 675-2.)

The government’s characterization of the letter as “a futile

attempt to comply with the requirements of 28 C.F.R. § 16.23” is

unsupported by the text of the statute. Thus, the Court finds that
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the Touhy regulations do not prohibit disclosure of the subpoenaed

materials.

B.   The Nixon Standard

     Under United States v. Nixon, a party requesting a subpoena

must show “(1) relevancy; (2) admissibility; [and] (3) specificity”

of the subpoenaed materials.        418 U.S. at 699-700.          As to the

relevancy requirement, there must be a “sufficient likelihood” that

the subpoenaed evidence is “relevant to the offenses charged in the

indictment.”    Id.   There must also be a “sufficient preliminary

showing” that the subpoenaed material “contains evidence admissible

with respect to the offenses charged in the indictment.”                    Id.

at 701.   Finally, a subpoena request may not be so unreasonable or

oppressive for a producing party as to constitute “merely a fishing

expedition to see what may turn up.”         Bowman Dairy Co. v. United

States, 341 U.S. 214, 221 (1951).

     In support of its allegation that defendant’s subpoena request

fails the Nixon test, the government cites to numerous cases in

which a court quashed a subpoena due to its lack of specificity.

The situations in those cases, however, differ significantly from

the subpoena request before the Court.             Defendant Vizcarrondo

maintains that the subpoena request would be relevant to the

following issues:      (1) the alleged need for the government to
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modify, amend, or ask for a new “autopsy report to confirm its

[sic] theory of the events”, (2) the government’s involvement in

the medical examiner’s conclusion in the autopsy report, and

(3)    potential    impeachment      material    for   the    pathologist        who

testified that there was only one autopsy report.                 (Docket No. 693

at 2-6.)      The government counters that the sole purpose of the

subpoenaed testimony would be to impeach a witness, and thus it

lacks “substantive value.”          (Docket No. 675 at 5, FN 2.)            In the

present case, however, “there are other valid potential evidentiary

uses for the same material.”          Nixon at 701.

       The subpoenaed materials are clearly relevant to the offenses

charged in the indictment; they speak directly to the cause of the

victim’s death, and are therefore material to the defendants’ guilt

or    innocence.     Under      Federal   Rule   of Evidence       401, relevant

evidence simply “means evidence having any tendency to make the

existence of any fact that is of consequence to the determination

of the action more probable or less probable than it would be

without the evidence.” As a threshold matter, the evidence is also

admissible, and the government has made no arguments regarding its
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admissibility under Fed.R.Evid. 402.1       The subpoena request, which

directs Mr. Bazan, who was the lead prosecutor in the case until he

retired in December 2010 (Docket No. 693 at 2), to appear in Court

to testify and bring “any and all related memoranda, documents or

reports of investigation generated by you or where you sign off on

in any capacity that are in your possession in relation to the

autopsy of Ellis Manuel Andrades Telleria” (Docket No. 663), is

also not overly “broad or unreasonable or oppressive.”                Bowman

Dairy Co., 341 U.S. at 220.          Unlike the cases cited by the




     1
         Rule 402 of the Federal Rules of Evidence reads:

          All relevant evidence is admissible, except as
     otherwise provided by the Constitution of the United
     States, by Act of Congress, by these rules, or by other
     rules prescribed by the Supreme Court pursuant to
     statutory authority. Evidence which is not relevant is
     not admissible.
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government,2 defendant’s subpoena request is directed specifically

at Mr. Bazan and focuses on the discreet issues of the preparation

of, government involvement in, and knowledge of the autopsy report.

Further, the request is based on e-mail conversations disclosed to

the defense between Mr. Bazan and various case agents regarding the

autopsy report and the cause of death of the victim.                 (Docket

No. 693 at 2-3.)      Finally, defendant Vizcarrondo alleges that

“Mr. Bazan has not been available to be deposed or formally

interviewed by the defense.”    Id. at 8.   Accordingly, at this stage

of the proceedings, the Court finds that the defendant’s subpoena

seeks evidence that is relevant, admissible, and sufficiently


     2
       United States v. Leonard, 817 F.Supp. 286, 295 (E.D.N.Y.
1992) (quashing defendant’ subpoena duces tecum where defendant
sought, in part, “virtually every DEA document relating to
[defendant]” who “has had dealings with the DEA for over fifteen
years.”); United States v. Noriega, 764 F.Supp. 1480, 1492-94 (S.D.
Florida 1991) (holding that government’s subpoena of defendant’s
prison-recorded conversations prior to the time they are to be
offered in evidence was improper as the prosecution “simply hoped
to find something of possible value which might bolster its case
against [defendant].”); United States v. Moore, No. 92 CR 200, 1992
WL 266938, at *1-2 (E.D.N.Y. Sept. 29, 1992) (quashing subpoena
because it was “not sufficiently specific” where movant requested
“all documents memoranda, notes, reports and other materials
generated by investigators under Investigation No. 161/91 initiated
on the complaint of [movant].”); United States v. Hang, 75 F.3d
1275, 1283 (8th Cir. 1996) (finding that defendant’s subpoenas that
“were directed toward a hospital and various Government agencies
[and] were primarily designed to uncover documents relating to the
mental health of certain prosecution witnesses” were “based on
nothing but sheer speculation” and lacked specificity.)
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specific. The government’s motion to quash the subpoena is DENIED.

Defendant’s motion for an evidentiary hearing to rule on the issue

is DENIED.

     IT IS SO ORDERED.

     San Juan, Puerto Rico, September 9, 2011.


                                       s/ Francisco A. Besosa
                                       FRANCISCO A. BESOSA
                                       United States District Judge
